    Case 16-62030            Doc 14     Filed 12/16/16 Entered 12/16/16 10:10:22                    Desc Main
                                          Document     Page 1 of 1




                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                      LYNCHBURG DIVISION

IN RE:                                                                                     CHAPTER 13
Jewel E. Jasper
CASE NO: 16-62030

SS# -XXX-XX-4992

               Debtor(s)

                    ORDER DIRECTING PAYMENT OF FUNDS TO CHAPTER 13 TRUSTEE
                                 (Direct Payment From Debtor)

           The above-named debtor(s) filed a Chapter 13 petition on October 6th, 2016, thereupon
subjecting all wages and property of the Debtor wheresoever situated, while this case is pending, to the
jurisdiction of this Court.

               Pursuant to 11 U.S.C. Section 1326(a)(1), it is

                                                      O R D E R E D:


          That Jewel E. Jasper, Debtor, is hereby directed to pay to the duly appointed Trustee the sum
of
 $250 / MONTH FOR 5 MONTHS, THEN $650 / MONTH FOR THE REMAINING 52 MONTHS,
commencing with the next pay period on or before November 6th, 2016 All payments should be made
payable to HERBERT L. BESKIN, TRUSTEE, P. O. BOX 1961, Memphis, TN 38101-1961 (tel: (434)
817-9913),

    The sum may be accumulated and remitted monthly to the Trustee, all pursuant to 11 U.S.C. Section
1325 (b).

                  Copies of this order are directed to be mailed to the Debtor(s), counsel for the Debtor(s), and
the Trustee.


DATED: December 16, 2016____
                                                                 __________________________________________
Prepared by:                                                             U. S. Bankruptcy Judge


/s/ Christopher M. Winslow
Attorney’s Name

 
